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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE Fil.ED BY S,\_‘&,/_ID.C.
WESTERN DIVISION
) UEJAUGWAHH=:W
Benny Featherston, )
Piaimiff, ) ’§H&Wa ll GOULD
v. ) ease No. 04-2157 iglii&‘ §§ ‘
Charms Company, ) '”'/D """ ;;" q ii
Defendant. )
)

 

ORDER TAXING COSTS

 

Defendant, Charms Company (“Charms”), the prevailing party in the above-
captioned action under Judgment entered May 10, 2005 in favor of Defendant Charms,
filed its Bill of Costs, pursuant to Fed. R. Civ. P. 54(d) and 28 U.S.C. §1920, on May 17,
2005 in the sum of $1,106.45, seeking reimbursement from Plaintiff Benny Featherston
(“Featherston”) for the following itemized expenses:

Reguested

1. Deposition Transcript and Court Reporting Fees $ 572.25
2. Video of the above Deposition 370.00
3. Copies of Transcriptions of two other Depositions 164.20
Total Costs submitted by Defendant Charms $l,106.45.

The Clerk of Courts, pursuant to Local Rule 54.1, provided written notice to
counsel for all parties that on June 27, 2005 a hearing would be held by the Clerl< of
Court on July 8, 2005 at 10:00 AM at which counsel could appear and/or submit citations
of law relevant to the issue of taxing costs in this matter. A cost assessment hearin g was
held as scheduled, and James L. Holt, Jr. appeared as counsel on behalf of Defendant
Charms. P|aintiff Featherston’s counse], J. Barney Witherington, IV, did not appear, and
neither party submitted citations of law relevant to the issue of taxing costs in this matter.

For the reasons set forth below the Clerk of Court has determined that costs
should be and are hereby taxed against Plaintiff Featherston and in favor of Defendant
Charms in the amount of $1,106.45, based on the following allowances:

Item # Description of Cost Item Requested Approved

 

l. Deposition Transcript and Couit Reporting Fees $ 572.25 $ 572.25

2. Video of the above Deposition 370.00 370.00
3. Copies of Transcriptions of two other Depositions 164.20 164.20
Total Costs $1,106.45. $l,106.45.

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Cost of Deposition Transcripts and Court Reporting Fees:

Pursuant to 28 U.S.C. §1920, the cost of taking and transcribing depositions as
well as the cost of purchasing copies of depositions may be taxed if the depositions were
necessarily obtained for use in the case, meaning that they were reasonably necessary to
the prosecution of the action and were not merely useful as part of an overall discovery
process. It is also well-settled that the depositions need not have been actually used at
trial, and where, as in the instant action, the case was disposed of by way of Summary
Judgment the issue of whether depositions were actually used at trial is a moot point.

The Clerk of Court therefore finds that Items #1 ($572.25) and #3 ($l64.20) were
reasonably necessary for the prosecution of this case and are therefore properly taxable as
costs.

Cost of Videotar)ed Deposition:

Pursuant to 28 U.S.C. §1920, it is permissible to tax as costs the fees of court
reporters for all or any portion of the stenographic transcription of a deposition
necessarily obtained for use in the case. While not specifically stated in §1920, there is
ample authority that nonstenographic means of recording a deposition, such as the
videotaping of a deposition, are also taxable as costs. The question is whether a
prevailing party can recover the both the cost of stenographic transcriptions and the cost
of videotaping a given deposition This question must be answered by deciding whether
both means of recording a given deposition were necessary, and the issue of necessity
must, in turn, be based on more than mere convenience or just having the desire to be
able to offer the deposition in alternative formats. Reading §1920 in conjunction with
Fed. R. Civ. P. 30(b)(2), it is clear that the noticing party is free to decide which means of
recording a deposition will be used-- that is, sound, sound-and-visual or stenographic--
but if the noticing party elects to record by means other than stenographic that party will
eventually have to provide a stenographic transcription if the original nonstenographic
deposition will later be offered as evidence at tri al or on a dispositive motion (See, Fed.
R. Civ. P. 26 and 56).

A review of the various motions and other filings in this case indicates that
Defendant Charms did in fact make use of the transcription of Plaintiff Featherston’s
deposition The original videotaped deposition was proper as to the means of recording,
and the transcription of that deposition was both necessary and proper in that it was used
by Defendant to prosecute this cause to a final disposition by means of Summary
Judgment. There is, therefore, no indication that either the videotaped deposition or its
transcription were anything other than a necessary part of Defendant’s case preparation
and presentation, and both are taxable as costs under §1920. The Clerk of Court
therefore finds that Item #2 ($370.00) was reasonably necessary for the prosecution of
this case and is therefore properly taxable as costs

 
 
 
   
 

Pursuant to Local Rule 54.1, taxation of co
reviewed by the Court upon motion, which must
the docketing of this Order.

by the Clerk of Court may be
served within fi e (5) days following

Dated: August 10, 2005

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CV-02157 was distributed by fax, mail, or direct printing on
August ll, 2005 to the parties listed.

ESSEE

 

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Honorable .l on McCalla
US DISTRICT COURT

